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        STUDENT CODE OF CONDUCT




Effective
Effective November
          November 9,
                   9, 2021
                      2021




                                                                                        VT002763
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I. Introduction
The Virginia Tech community is guided by the university’s motto, Ut Prosim (That I May
Serve), and is based on the fundamental values expressed in the Principles of Community:
to nurture learning and growth for all community members, to encourage open
expression, and to respect our differences and common humanity.
When a student accepts admission to Virginia Tech as an undergraduate, graduate, or
professional student, they also accept membership in the university community and
responsibility for upholding its shared values and expectations. The Student Code of
Conduct outlines policies established by the university that set standards for students’
behavior, along with procedures for adjudicating and sanctioning violations of these
standards. The code applies to all students and student organizations at Virginia Tech, as
defined in this document. The university reserves the right to make changes to the code at
any time.
Authority to approve policies and procedures for student discipline, as outlined in the
Student Code of Conduct, lies with Virginia Tech’s governing body, the Board of Visitors,
as authorized under the Code of Virginia. The Vice President for Student Affairs has
responsibility for the university conduct system, with direct supervisory oversight of
disciplinary matters assumed by the Office of Student Conduct, under the direction of the
Director of Student Conduct. The director serves as the Chief Student Conduct Officer for
the university.
The Student Code of Conduct does not apply to matters of academic integrity. For
information on policies and procedures related to student academic integrity, please refer
to the following:
   •    Undergraduate Academic Integrity
   •    Graduate Honor System
   •    Doctor of Veterinary Medicine Honor Code (Virginia-Maryland School of
        Veterinary Medicine)
   •    Doctor of Medicine Honor Code (Virginia Tech Carilion School of Medicine)

The Oﬃce of Student Conduct and the University Conduct System
                                                       System
The Student Code of Conduct is overseen by the Office of Student Conduct.
The university’s conduct system supports the educational mission of the university by
educating students about appropriate behavior and fostering a community in which
students can flourish academically and personally.
The system assumes that students and student organizations have the capacity to assume
responsibility for their own behavior and that the university has the authority to establish
an internal structure for the enforcement of its policies and procedures, which students
have agreed to accept by enrolling in the university. As part of its authority, Student
Conduct may suspend or dismiss students from the university.




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Conduct matters are addressed by Student Affairs professionals who have been appointed
as hearing officers by the Director of Student Conduct. These individuals each have
significant education and training on student development, student discipline, and
university policies and procedures.

                          fic Regulations
Additional Community-Speciﬁc  Regulations
As part of their education and life at Virginia Tech, students may also be involved in
organizations, programs, or other entities for which additional and separate standards and
policies, including potential sanctions for violations, have been established. Students
should be aware of additional policies that may apply to their involvement in certain
programs, organizations, or communities, including but not limited to students in the
Corps of Cadets, student athletes, members of certain Greek-letter organizations under
the Office of Fraternity and Sorority Life, and students in certain colleges or programs,
such as the Virginia Tech Carilion School of Medicine or the Virginia-Maryland College
of Veterinary Medicine.
These policies and processes do not supersede a student’s responsibilities under the Student
Code of Conduct. In situations involving potential violations of policies in the Student Code
of Conduct and community-specific policies, the student is accountable first to the
university’s Code. Additional sanctions may be issued by programs/organizations that
address a student’s participation or membership in those communities, specifically.
Student Conduct is responsible for coordinating adjudication processes with these various
entities, when appropriate.


II. Student Rights and Responsibilities
As individuals, Virginia Tech students enjoy basic rights. As members of the university
community, they also accept certain responsibilities.

Rights
1. Students at Virginia Tech will be treated fairly and with dignity regardless of age, color,
   disability, sex (including pregnancy), gender, gender identity, gender expression,
   genetic information, national origin, political affiliation, race, religion, sexual
   orientation, or veteran status as described in university policy 1025.
2. Students at Virginia Tech enjoy those rights guaranteed by the Constitutions of the
   United States and the Commonwealth of Virginia. This includes activities protected
   under the First Amendment. In accordance with the Code of Virginia, incidents of
   disruption of constitutionally protected speech may be reported via the Speech on
   Campus webpage.
3. The Student Code of Conduct and the policies and procedures it outlines, under the
   administration of the Office of Student Conduct, provides an administrative process for
   resolving allegations of misconduct. This process includes certain procedural
   guarantees to ensure that students receive a fair and equitable resolution.



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Responsibilities
1. Students are responsible for understanding and following university policies and
   procedures, including the Student Code of Conduct, and for abiding by all applicable state,
   federal, and local laws.
2. University email is the primary means by which the university communicates with
   students; therefore, students are responsible for reading all official communications
   delivered to their university email address.
3. Students who are offered admission to Virginia Tech and choose to matriculate have a
   continuing duty to report to the Office of Student Conduct any arrests or convictions,
   other than minor traffic violations, as well as any protective orders issued against them.
   This duty applies regardless of where the arrest occurred and regardless of whether the
   university is in session at the time of the arrest or conviction. Students must notify
   Student Conduct in writing, using the Arrest Disclosure and Conviction Form, within
   10 business days of the incident that led to their arrest or within five business days of
   the incident that led to their conviction. Failure to comply with this continuing duty
   may result in disciplinary action under the Student Code of Conduct.

III. Jurisdiction
Enrollment Status
For the purposes of disciplinary action, a “student” is defined as any individual who has
accepted an offer of admission as an undergraduate, graduate, or professional student and
who has not yet graduated or officially transferred to another institution.
If a student’s enrollment lapses for more than one calendar year, based on a student’s
voluntary decision not to enroll, that student will no longer be subject to disciplinary
action. However, students who are separated from the university for academic or
disciplinary reasons are still considered students for disciplinary purposes, regardless of
the duration of the separation.

Student Organizations
A student organization, as defined in this document (below), may be considered for
disciplinary action if an incident(s) is determined to be an organizational activity, based on
at least two of the criteria listed below. Student Conduct will consider the entirety of the
information to determine whether to charge an organization.
   •   Any student serving as an executive officer of the organization who is aware of the
       incident sufficiently in advance of its occurrence to prohibit its taking place and
       takes no action to prohibit it.
   •   The incident involves the expenditure of any organizational funds.
   •   The incident involves or is actively or passively endorsed by a majority of the
       members of the organization.
   •   The incident occurs in property owned, rented, reserved, or used by the
       organization.

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   •   Members and/or non-members of the organization learned about the event
       through members or communication associated with the organization.
   •   The incident occurred as a result of individual members of the organization acting
       in the capacity as members of the organization.
Student leaders and members of organizations who are complicit in any violation of the
Student Code of Conduct or who permit or condone behavior that violates the code may also
be held accountable as individuals in addition to the organization.

Location of Incidents
Students and student organizations that violate the Student Code of Conduct may be
considered for disciplinary action whether the conduct occurs on or off university property.
The Student Code of Conduct may also apply to behavior conducted online or through an
electronic medium. Students should also be aware that online postings such as blogs, web
postings, chats and social networking sites are in the public sphere and are not private.
The university does not regularly search for this information but may take action if and
when such information is brought to the attention of university officials.

Alleged Violations of Criminal Law
When conduct violates both criminal law and the Student Code of Conduct, disciplinary
action may be taken by the university, irrespective and separate from criminal action. At
the university’s discretion, the Office of Student Conduct may proceed with disciplinary
action prior to a criminal trial or postpone action until after trial.

IV. Definitions
The following terms as used throughout the Student Code of Conduct are defined below. For
definitions related to cases referred for formal adjudication under Title IX, refer to Appendix III.


TERM                         DEFINITION
                             An advisor is one person of a student’s choosing and cost who may
                             accompany a student throughout the conduct process. They may
Advisor
                             consult with the student but not speak on the student’s behalf or
                             participate actively in the process.
                             An aggravating factor is information, used during sanctioning (i.e., after
                             a violation has been determined to have occurred), that may increase
Aggravating
                             the sanction. Some factors may include but are not limited to a student’s
Factors
                             past conduct record and the nature and severity of the behavior and
                             its impact.
                             An appeal is a written request for review of a hearing and findings,
Appeal
                             based on specific grounds.
                             An appellate officer is an employee of Virginia Tech, external to the
Appellate Oﬃcer
           fficer            Office of Student Conduct staff, designated by the Vice President of
                             Student Affairs to review and respond to appeals.

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TERM                         DEFINITION
Charge(s)                    A potential violation of the Student Code of Conduct.
                             Any individual who has reported a potential violation of the Student
Complainant
                             Code of Conduct.
                             A conduct or hearing officer is an individual designated by the
Conduct Oﬃcer
         fficer or
                or
                             Director of Student Conduct to adjudicate cases involving allegations
Hearing Oﬃcer
         ficer
                             of conduct violations.
                             A report or complaint that alleges violations of the Student Code of
Conduct Referral
                             Conduct by a student(s) or student organization(s).
                             Consent is generally defined as knowing, voluntary, and clear
Consent (general)*           permission for something to occur. *For a more specific definition of
                             consent in the context of sexual activity, please see the definition below.
                             Consent is defined as knowing, voluntary, and clear permission by
                             word or action, to engage in mutually agreed upon sexual activity. The
                             existence of consent is based on the totality of circumstances, including
                             the context in which the alleged consent occurred. Silence does not
                             necessarily constitute consent and coercion, force, or threat of either
                             party invalidates consent.
Consent (in the                • Consent cannot be given where a person is incapacitated; or
context of sexual
activity)                          where a person has a disability; or is not of legal age to consent as
                                   defined by law.
                               • Consent to any one form of sexual activity cannot automatically
                                   imply consent to any other forms of sexual activity. Consent can
                                   be withdrawn at any time.
                               • Previous relationships or prior consent cannot imply consent to
                                   future sexual acts.
                             Incapacitation includes but is not limited to being asleep, drugged,
Incapacitation
                             intoxicated, or unconscious.
                             A mitigating factor is information, used during sanctioning (i.e., after a
                             violation has been determined to have occurred), that may decrease the
Mitigating Factors
                             sanction. Some factors may include but are not limited to a student’s
                             past conduct record and steps taken to remedy their behavior
                             Written notice of the alleged violations of the Code. Notice will be
                             presumed to have been furnished when the notice is sent to the
Notice
                             student’s Virginia Tech email address or, when appropriate, provided at
                             a prehearing meeting.
                             The Office of Student Conduct uses preponderance of the evidence
                             to determine whether or not a student has violated a policy in the
Preponderance of
                             Student Code of Conduct. This determination is made based on the
the evidence
                             information available to determine if it is more likely than not that
                             a violation occurred.


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TERM                         DEFINITION
                             Any student or student organization alleged to have violated the Student
Respondent
                             Code of Conduct.
                             For the purposes of disciplinary action, a “student” is defined as any
                             individual who has accepted an offer of admission as an undergraduate,
Student
                             graduate, or professional student and who has not yet graduated or
                             officially transferred to another institution.
                             For the purposes of disciplinary action, a “student organization”
Student                      includes Registered Student Organizations (RSO), Extended Campus
Organization                 Student Organizations (ECSO), and University Chartered
                             Organizations (UCSO), as defined in university policy 8010.
                             A university official is any person given authority by the university to
                             perform administrative or professional responsibilities, including, but
University Oﬃcial
            fficial
                             not limited to university police officers, resident advisors, graduate/
                             teaching assistants, administrative support staff, faculty, etc.
                             University property or university facilities are any location, either
University                   permanent or temporary, owned or leased by Virginia Tech, and
Property or                  includes satellite campuses and offices. This includes, but is not limited
University                   to, the buildings, grounds, and the surrounding perimeters, including
Facilities                   the parking lots, field locations, classrooms, alternate work or class
                             locations, and university owned or leased vehicles.
                             A witness is a person who provides relevant information about an
Witness                      incident in a hearing or through a written statement. Character
                             witnesses are not generally considered relevant.

V. Prohibited Conduct
Alcohol and Other Drug Oﬀenses
                        ffenses
   •    Alcoholic Beverage: Improper use of alcohol as defined by the regulations of the
        Commonwealth of Virginia and the university, including but not limited to
        underage possession/consumption, public intoxication (regardless of age),
        providing alcohol to any underage person, or any violation of university alcohol
        regulations, as outlined in Appendix I.
   •    Drugs: Possessing, using, manufacturing, selling, or misusing any substance and/
        or possession of drug paraphernalia in violation of state or federal law.
                ‣    Marijuana (Cannabis): Virginia law permits adults aged 21 or older to
                     possess, use, and grow marijuana under certain circumstances;
                     however, federal law continues to prohibit it and requires institutions
                     of higher education that receive federal funds, including financial aid,
                     to have policies prohibiting marijuana on university property or at
                     university-sponsored off-campus events.


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                     Therefore, in accordance with federal and state laws, Virginia Tech
                     prohibits the following conduct related to marijuana. (Additional
                     information is available in Appendix II):
                          ▪    Possession or use of any form of marijuana for any purpose,
                               including medical or recreational use, on university property or
                               at university-sponsored events off campus. This includes but is
                               not limited to smoking, consuming edibles, and using
                               vaporizers. “Use” includes being under the influence of
                               marijuana.
                          ▪    Possession of marijuana paraphernalia on university property
                               or at university-sponsored event off campus.
                          ▪    Improper possession or use of marijuana off university
                               property (with the exception of university-sponsored events)
                               as defined by the regulations of the Commonwealth of
                               Virginia, including but not limited to possession/use under the
                               age of 21, possession of greater than 1 ounce, consuming in
                               public, and selling, as outlined in Appendix II.
   •    Driving Under the Influence: Operating or attempting to operate a motor vehicle,
        bicycle, or other personal transportation device while intoxicated or impaired by
        alcohol or other drugs.

Oﬀenses Against People
                   dle
   •    Abusive Conduct: The use of physical force against an individual or any acts that
        cause physical harm; threats, including words or actions, that may cause a person
        reasonable apprehension of imminent physical harm.
   •    Endangerment: Actions that intentionally or recklessly endanger the health, safety,
        or well-being of oneself or another person or group.
   •    Harassment: Unwelcome conduct not of a sexual nature that is sufficiently severe,
        pervasive, or persistent that it could reasonably be expected to create an
        intimidating, threatening, or hostile environment that limits the ability of an
        individual to work, study, or participate in the activities of the university. Note: the
        Code also includes a Gender-Based Harassment policy.
   •    Hazing: Any mental or physical requirement, request, or obligation placed upon
        any person for the purpose of admission, initiation, or continued association with
        a group or organization that could cause discomfort, pain, fright, disgrace, or
        injury; that is personally degrading; or that violates any federal, state, local statute,
        or university policy, the willingness of an individual to participate in such activity
        notwithstanding. Additional information is available in Appendix IV.
   •    Stalking: Repeated contact of another person not based on gender when the
        contact is unwanted and may cause the other person reasonable apprehension of
        imminent physical harm or cause substantial impairment of the other person’s
        ability to perform the activities of daily life. Note: the Code also includes a Gender-
        Based Stalking policy.
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  •    Recording and/or Distribution of Audio/Visual Material Without Consent:
       Making, attempting to make, sharing, or distributing an audio and/or visual
       recording of any person(s) without the knowledge and consent of all participants
       subject to such recordings, in locations where there is a reasonable expectation
       of privacy, and when the action is likely to cause injury, distress, or damage to
       one's reputation.
  •    Gender-Based Violence (these policies apply in cases outside of the jurisdiction of
       Title IX; for Title IX policy definitions, refer to Appendix III):
               ‣    Sexual Violence: Physical sexual acts perpetrated against a person’s will
                    or where a person is incapable of giving consent. Sexual violence
                    includes rape, sexual assault, sexual battery, and sexual coercion.
                         ▪    Sexual Assault: Actual or attempted sexual contact with
                              another person without that person’s consent.
                         ▪    Sexual Battery: Intentional touching of another person’s
                              intimate parts without the person’s consent; or other
                              intentional sexual contact with another person without that
                              person’s consent.
                         ▪    Sexual Coercion: Using physical or verbal aggression or
                              pressure to force or attempt to force a person to touch another
                              person’s intimate parts without that person’s consent.
                         ▪    Rape: Penetration, no matter how slight, of (1) the vagina or
                              anus of a person by any body part of another person or by an
                              object, or (2) the mouth of a person by a sex organ of another
                              person, without that person’s consent.
                    ‣    Gender-based Harassment: Acts of verbal, nonverbal, or
                         physical aggression, intimidation, or hostility based on sex or
                         sex-stereotyping, even if those acts do not involve conduct of a
                         sexual nature.
                    ‣    Sexual Exploitation: An act or acts committed through non-
                         consensual abuse or exploitation of another person’s sexuality for
                         the purpose of sexual gratification, financial gain, personal benefit
                         or advantage, or any other non-legitimate purpose. The act or acts
                         of sexual exploitation are prohibited even if the behavior does not
                         constitute one of the other sexual misconduct offenses.
                    ‣    Domestic Violence: A pattern of abusive behavior that is used by
                         an intimate partner to gain or maintain power and control over the
                         other intimate partner. Domestic violence can be physical, sexual,
                         emotional, economic, or psychological actions or threats of actions
                         that influence another person. This includes any behaviors that
                         intimidate, manipulate, humiliate, isolate, frighten, terrorize,
                         coerce, threaten, blame, hurt, injure, or wound someone.


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                     ‣    Dating Violence: Acts of physical or sexual abuse committed by a
                          person who is or has been in a social relationship of a romantic or
                          intimate nature with the victim.
                              ▪    The existence of such a relationship shall be determined
                                   based on the reporting party's statement and with
                                   consideration of the length of the relationship, the type of
                                   relationship and the frequency of interaction between the
                                   persons involved in the relationship.
                              ▪    Dating violence includes, but is not limited to, sexual
                                   or physical abuse or the threat of such abuse, but does
                                   not include acts covered under the definition of
                                   domestic violence.
                     ‣    Gender-Based Stalking: Repeatedly contacting another person
                          when the contact is unwanted. Additionally, the contact may cause
                          the other person reasonable apprehension of imminent physical
                          harm or cause substantial impairment of the other person’s ability
                          to perform the activities of daily life. Contact includes but is
                          not limited to communicating with (either in person, by phone,
                          or by computer) or remaining in the physical presence of the
                          other person.

Oﬀenses Against Property           'ty




   •    Damage or Destruction: Intentional, reckless, and/or unauthorized damage to,
        destruction of, tampering with, or vandalism of property.
   •    Fire Safety: The misuse of or tampering with firefighting equipment,
        unauthorized burning, disregarding fire alarm signals, deliberately initiating a false
        alarm or, tampering with fire detection or suppression equipment.
   •    Theft: Theft, attempted theft, or possession of stolen property.
   •    Unauthorized Entry: Entering, attempting to enter, or being present in buildings,
        residences, public or private property, and/or facilities or other areas without
        proper authority.

Oﬀenses Against the Community
                          ity
   •    Disorderly or Disruptive Conduct: Engaging in disorderly or disruptive conduct
        that interferes with university, community, or individual activities, including but
        not limited to studying, teaching, research, and university administration.
   •    Public Exposure: Any act or attempted act of public nudity or urinating/defecating
        in public.
   •    Hazardous Materials: Unauthorized possession or use of fireworks, explosives, or
        hazardous and potentially hazardous materials.
   •    Weapons: Unauthorized possession, use, or storage of firearms, ammunition, or
        weapons on university property at any location, either permanent or temporary,

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        owned or leased by Virginia Tech. Refer to Virginia Polytechnic Institute and
        State University Policy and Procedures No. 5616 for additional information.

Oﬀenses Against the University
                            ty
   •    Failure to Comply: Failure to comply with a request and directives of university
        officials acting within the scope of their authority, including but not limited to the
        following: failure of a student to present their university identification card,
        failure to keep or attend a required meeting, and failure to leave an area when
        requested by an authorized university official. Upon the request of the student
        questioned, university officials must identify themselves and state the source of
        their authority.
   •    Furnishing False Information: Knowingly giving false information to a university
        official who is performing their official duties, including but not limited to perjury
        in a conduct hearing.
   •    Interference with University Complaint Processes: Attempting or actively
        influencing, impeding, intimidating, interfering, coercing, or retaliating against
        any person involved in a potential, actual, or past student complaint in a formal
        university complaint process.
   •    Involvement in a University Violation: Presence during any violation of the
        Student Code of Conduct and/or other university policies in such a way as to
        condone, support, or encourage that violation. Students who anticipate or observe
        a violation of university policy are expected to remove themselves from
        participation and are encouraged to report the violation.
   •    Visitation/Guest Policies: Students or student organizations will be held
        responsible for the conduct of their guests and are expected to inform them
        of all university regulations, including but not limited to Housing and Residence
        Life policies.

Other Prohibited Conduct
   •    Actions Leading to the Conviction of Criminal Offenses: Any student convicted of
        a criminal offense is subject to university disciplinary action.
   •    Failure to Observe Rules and Regulations: Failure to observe rules and regulations
        issued by the university that are not listed specifically as “Prohibited Conduct”
        in the document, including but not limited to regulations linked above in
        the “Additional University Policies” and “Additional Community Specific
        Regulations” sections.
   •    Forgery or Fraud: Forgery or fraud, including attempts to obtain any item of value
        under false pretenses, falsification of official university documents, or possession
        of forged or altered identification or another person’s identification.
   •    Gambling: Participation in any form of illegal gambling.




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                                                                                                        VT002774
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Statement on Sanction Enhancements for Policy Violations Motivated
by Bias
Any violation of the Virginia Tech Student Code of Conduct found to be motivated by
an individual’s age, color, disability, sex (including pregnancy), gender, gender identity,
gender expression, genetic information, national origin, political affiliation, race, religion,
sexual orientation, or veteran status (as stated in Virginia Polytechnic Institute and State
University Policy and Procedures No. 1025) will be deemed an aggravating factor and will
subject the student to a sanction more severe than would be imposed in the absence of
such motivation.
This sanction enhancement will not apply in cases in which protected classes are
specifically addressed within the language of the policy, such as gender-based violence or
gender-based stalking.

Statement on Self-Reporting and Bystander Intervention
Virginia Tech recognizes that the health and safety of students is of utmost importance.
Therefore, if someone requires assistance for themselves or others because of alcohol or
drug use, we want them to call for help. If medical assistance is sought, Student Conduct
will not pursue conduct charges against the individual or organization who sought
assistance, or the individual in need of assistance. However, Student Conduct will still
require students to attend a meeting with a hearing officer to discuss the incident and will
assign substance-related and other educational assignments to the involved parties.
Violations having a significant individual or community impact and students with prior
violations that demonstrate an actual, potential, or perceived pattern of behavior are
not likely to have outcomes that are mitigated and are not likely to be protected under
this policy.

Statement on Reports of Sexual Harassment and Gender-Based
Violence and Immunity for Use of Alcohol or Other Drugs
Virginia Tech seeks to remove any barriers to reporting incidents of sexual harassment
and gender-based violence. Therefore, any student, whether the complainant or a third
party, who makes a good-faith report of sexual harassment or gender-based violence will
be immune from disciplinary action for their personal consumption of alcohol or other
drugs occurring at the time of the reported incident.

VI. Additional University Policies
The Student Code of Conduct is intended to include other rules, regulations, and policies
issued by the university that pertain to students and student organizations. Violations of
these policies are actionable under the Student Code of Conduct when the violation warrants
a process or sanction beyond what is available in these policies. Additional policies include
but are not limited to the following:

    •   Dining Policies
    •   Housing and Residence Life Policies

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    •   Housing and Dining Contract
    •   Parking and Traffic Regulations
    •   Student ID Cards
    •   University-Level Policies (see the university’s policy library at policies.vt.edu/
        policy-library for a full list of policies relevant to students; the following policies
        are those most frequently referenced):
                     ‣    Acceptable Use and Administration of Computer and
                          Communications Systems
                     ‣    Arrest, Conviction, and Protective Order Disclosures
                     ‣    Bicycles and Personal Transportation Devices
                     ‣    Campus and Workplace Violence Prevention
                     ‣    Facilities Usage and Events
                     ‣    Harassment, Discrimination, and Sexual Assault
                     ‣    Operation of Unmanned Aircraft Systems
                     ‣    Sales, Solicitation, and Advertising on Campus
                     ‣    Serving Alcohol
                     ‣    Smoking
                     ‣    Social Media
                     ‣    University Names and Trademarks

VII. Student Conduct Process
The Office of Student Conduct uses the following procedures to address behavior that is
alleged to have violated university policy. It should be noted that not all situations are of
the same severity or complexity. Thus, these procedures are flexible and are not exactly
the same in every situation, though consistency in similar situations is a priority. The
procedures used in particular cases are determined at the sole discretion of the Office of
Student Conduct.
The university conduct process is an administrative function and differs from civil or
criminal legal proceedings. In some situations, students may be involved in both legal and
university systems.

Step 1: Submitting a Conduct Referral/Complaint
Any student, faculty member, staff member, administrator, community member, or
concerned party may submit a complaint, known as a “conduct referral,” to the Office of
Student Conduct. While there is no time limit for referrals, Student Conduct encourages
people who plan to bring a complaint against a Virginia Tech student to do so as quickly
and prudently as possible.




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Student Conduct will review the conduct referral to determine if there is information
regarding behavior that may violate the Student Code of Conduct and thus warrants
resolution within the conduct system.
This review may include a meeting with the person(s) who submitted the complaint and/
or an investigation to gather additional information.
Potential outcomes of the review include the following:
   •    A determination that interim measures or administrative actions should be
        imposed in order to maintain safety or order.
   •    A determination that an investigation is needed to gather additional information
        to identify an appropriate avenue for resolution.
   •    A determination that the matter should be referred to another office or process.
   •    A determination that there may be a potential violation of the Student Code of
        Conduct and that an agreed resolution is the appropriate avenue for resolution.
   •    A determination that there may be a potential violation of the Student Code of
        Conduct and that a formal hearing is the appropriate avenue for resolution.
   •    A determination that the complaint may not involve a potential policy violation
        but is related to a conflict; in this case, Student Conduct may offer voluntary
        mediation, facilitated dialogue, or conflict coaching.
   •    In some cases, at Student Conduct’s discretion, students will be invited to
        participate in an educational conversation about the concerns raised in
        the complaint, even when Student Conduct determines that adjudication is
        not appropriate.
   •    A determination that there is insufficient information to pursue the complaint.
   •    A determination that the behavior alleged, even if proven, would not violate the
        Student Code of Conduct.
Formal Complaints of Sexual Harassment and Gender-Based Violence
Formal complaints of sexual harassment and/or gender-based violence should be reported
to the university’s Title IX Coordinator. They will follow the steps detailed in Virginia
Tech’s Title IX Reporting and Grievance Procedures for Sexual Harassment and Violence
to offer supportive measures and to determine whether a complaint falls within the scope
of Title IX, as defined by the federal Department of Education, or under the policies in
Virginia Tech’s Student Code of Conduct.
Complaints that have been determined to fall under the policies in the Student Code of
Conduct will be referred to the Director of Student Conduct. Per the process outlined
above, the Director will review the complaint and, if appropriate, may request the Office
for Equity and Accessibility conduct a thorough, impartial investigation into the
complaint. Upon completion of an investigation, the Director will determine how the
matter should be resolved.




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Step 2: Resolution
After reviewing a conduct referral, Student Conduct will determine an appropriate
resolution process from among the following:
Agreed Resolution: An agreed resolution is an informal resolution option in which the
respondent meets with a hearing officer to discuss an incident and collaborates with the
hearing officer to determine whether they violated a policy and, if so, what sanctions may
be appropriate. If the respondent agrees to the resolution, they waive the right to a formal
hearing, and the resolution is final. If an agreement cannot be reached, the respondent has
the option to move forward to a formal hearing with a new hearing officer.
Formal Hearing: In a formal hearing, the hearing officer(s) determines whether the
respondent violated policies in the Student Code of Conduct, along with appropriate
sanctions, if necessary. In formal conduct hearings, the respondent is entitled to the
following procedural guarantees and opportunities:
   •    To receive written notice of charges at least five (5) business days in advance
        of the hearing and in reasonable detail to allow the respondent to prepare for
        the hearing.
   •    To share their version of events and refute any information presented.
   •    To present witnesses/witness statements and question any witnesses present.
   •    To remain silent or not participate.
   •    To be accompanied by an advisor.
   •    To challenge the objectivity of a hearing officer(s), given reasonable cause to
        believe that they may be biased or have a conflict of interest.
   •    To appeal if there is a loss of privilege (i.e., suspension, dismissal, denial of
        housing, etc.), provided there are appropriate grounds as found in the Student
        Conduct Formal Hearing Appeals section.
In addition to witnesses who may be called by respondents participating in formal
hearings, hearing officers may also call witnesses whom they believe are relevant for
determining outcomes in a given case. The outcome of a formal hearing is final unless it
qualifies for appeal, as outlined in the Formal Hearing Appeals section. If a respondent or
complainant fails to attend a formal hearing after receiving proper notice, the case may be
heard in their absence.
Formal Title IX Adjudication and Gender-Based Violence Hearings: Cases referred for
adjudication by the Title IX Coordinator for a formal Title IX hearing are conducted in
accordance with the policies and procedures outlined in Appendix III, as required by the
U.S. Department of Education.
Gender-based violence cases that fall outside of the jurisdiction of Title IX are adjudicated
through the gender-based violence policies and formal hearing process outlined by the
Student Code of Conduct, as described above. These formal hearings are conducted by a team
of two hearing officers. In these hearings, both the complainant and respondent receive
the same procedural guarantees outlined above, and both parties may appeal, regardless of
the outcome. Appeals must be based on appropriate grounds.
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                                                                                                       VT002778
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Adaptable Conflict Resolution (ACR): When complaints/referrals to Student Conduct are
based in conflict between individuals or groups, Student Conduct may offer adaptable
conflict resolution (ACR) options to students, including mediation, facilitated dialogue, or
conflict coaching. Participation in ACR is optional, and in the case of mediation or
facilitated dialogue, all parties must agree to participate. ACR options may result in a
mutually satisfactory agreement between the parties, but it is not required.
Educational Conversation: An educational conversation is a discussion between a student
and hearing officer in Student Conduct regarding behavior that does not rise to the level
of a policy violation but is, nevertheless, inappropriate or having a negative impact on the
student or others or, if it continues, may become a policy violation. These conversations
are educational and supportive in nature and are intended to help the student reflect and
to connect them with resources, when needed.

Additional Information
Standard of Proof
The preponderance of the evidence standard will be used to determine responsibility for
violations of policies in the Student Code of Conduct. Preponderance of the evidence means
that based on the information available to determine if it is “more likely than not” that a
violation occurred.

VIII. Sanctions
Student Conduct sanctions are designed to promote safety, individual accountability, and
reflection. Whenever possible, Student Conduct makes efforts to educate students and to
foster personal and academic success. When assigning sanctions, hearing officers consider
the type and nature of any policy violation(s), including mitigating or aggravating factors,
as well as the student’s prior conduct record. Sanctions are generally cumulative in nature.
One or more of the following sanctions may be imposed when a student or student
organization is found responsible for violating the Student Code of Conduct:


SANCTION                   DESCRIPTION
                           A formal written notice that the student or student organization
                           has violated a policy in the Student Code of Conduct and that
Formal Warning             further violations may result in more serious conduct action.
                           Students or student organizations who receive a formal warning
                           are still considered in good conduct standing with the university.
                           A specified period of time during which the student or student
                           organization is considered not in good conduct standing with the
Probation                  university. Further violations during that time period may result
                           in more serious conduct action, including a potential separation
                           from the university.




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SANCTION                   DESCRIPTION
                           A specified period of time during which the student or student
                           organization is considered not in good conduct standing with the
                           university. Violations for which deferred suspension is assigned
                           are those that are serious enough to warrant suspension from the
Deferred
                           university, but due to mitigating factors, the student or student
Suspension
                           organization is given the opportunity to remain enrolled at the
                           university, provided they do not violate further policies. The
                           suspension may take effect if they violate additional policies
                           during the period of deferred suspension.
                           A specified period of time during which the student or student
                           organization is separated from the university. During the
                           suspension period, the student does not have the rights and access
                           to privileges associated with being a student, which includes
                           eligibility to be academically enrolled at Virginia Tech or transfer
                           credits earned at other institutions during the period of
Suspension                 disciplinary suspension. For student organizations, the university
                           will withdraw recognition for the duration of the suspension. A
                           student or student organization must complete all assigned
                           sanctions and receive permission from Student Conduct to be
                           eligible to re-enroll. For a student who has completed their
                           academic work but whose degree has not yet been conferred, their
                           degree may be withheld for the duration of the suspension period.
                           A specified period of time during which the student or student
                           organization is considered not in good conduct standing with the
                           university. Violations for which deferred dismissal is assigned are
                           those that may warrant permanent dismissal, or expulsion, from
Deferred                   the university, but due to mitigating factors, the student is given
Dismissal                  the opportunity to maintain student status with the university,
                           provided they do not violate further policies. The dismissal may
                           take effect if the student violates additional policies during the
                           period of deferred dismissal. A deferred dismissal is often
                           accompanied by a suspension or other conduct sanctions.
                           A formal notice that the student or student organization is
                           permanently dismissed, or expelled, from the university, with no
Dismissal
                           opportunity to re-enroll. For student organizations, the university
                           permanently withdraws recognition.
                           A specified period of time during which the student is denied
                           certain privileges or associations, including but not limited to
Denial of
                           termination of the housing contract, removal from athletic
Privileges or
Associations               events, loss of recreational sports privileges, network access, or
                           access to certain university facilities. Student organizations may
                           also have their social function privileges revoked.

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SANCTION                   DESCRIPTION
                           Requirement for the student to make restitution for damage to
                           university property, which, at the discretion of Student Conduct
Restitution
                           and the associated university department, may be in the form of
                           monetary payment or community service.

Educational,               Assignments or activities designed to provide opportunities for
Community, and             reflection, learning, and growth as well as to connect the student
Wellness                   with resources to support their well-being and personal and
Activities                 academic success.



Failure to complete sanctions
Students are expected to complete their conduct sanctions, including educational
sanctions, within the timeframe and guidelines specified by their hearing officer. Failure
to complete sanctions may result in additional conduct action and sanctions.

IX. Formal Hearing Appeals
The respondent has the opportunity to appeal the outcome of a formal hearing if it results
in a loss of privilege, including suspension, dismissal, or denial of certain university
privileges, including but not limited to housing, network access, or athletic privileges. For
gender-based violence hearings, both the complainant and respondent have the
opportunity to appeal, regardless of the outcome of the hearing and whether or not there
is a loss of privilege. Sanctions take effect immediately, pending the appellate officer’s
decision or the end of the appeal period.
The appeal process for formal Title IX hearings is outlined in Appendix III.

Grounds for appeal
Appeals are not re-hearings; therefore, appeal requests are limited to the
following grounds:
        1. Denial of procedural guarantees
        2. Significant and relevant new information that was not available at the time of
           the hearing
        3. Unduly harsh or arbitrary findings or sanctions.
Appeals submitted that do not have sufficient grounds in one of these areas will be denied.

Potential Outcomes of an Appeal
The appellate officer will review the appeal and may:
       1. Uphold the original decision and sanctions
       2. Uphold the original decision and either decrease or increase the sanction
       3. Vacate a finding
       4. Send the case back to Student Conduct for a new partial or full hearing.



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Timeframe to submit an appeal
The respondents (and complainants, in the case of gender-based violence hearings) have
seven (7) business days from the date of the decision to submit the appeal. The date the
decision is given is considered the first day of the appeal period. Appeals submitted after
the deadline will not be accepted except in extenuating circumstances, as determined by
Student Conduct.

Format of appeal
The appeal is a written request submitted by the student for a review of the original case.
The student should include which grounds for appeal they believe apply and any
information the student wants considered should be included in the written document.
The burden is on the appealing student or student organization to demonstrate why the
finding or sanction should be altered.

Appellate Oﬃcers
           fficers

An appellate officer will be designated by the Assistant Vice President for Student Affairs,
who serves as the university’s Chief Appellate Officer. All appellate officers are external to
the Office of Student Conduct.

X. Interim Measures and Administrative Actions
Based on the nature and circumstances of the referral, the university may authorize
interim measures or take administrative action to maintain safety and order and to ensure
compliance with university processes and directives, including the following:
Holds on Student Account: Student Conduct may apply a hold on a student’s account,
which will prevent course registration, graduation, and access to transcripts. Situations in
which holds may be applied include but are not limited to the following:
1. The student fails to complete sanctions by assigned deadlines
2. The student has been issued an interim suspension
3. The student is suspended and has a pending re-enrollment meeting
4. The student has a pending conduct matter that must be resolved
Interim Suspension: The university retains the authority to impose an interim
(immediate) suspension from the university and/or selected campus facilities with proper
notice if such action is necessary to preserve the safety of persons or property. During an
interim suspension, a student may not participate in academic, extracurricular, or other
activities of the university except as may be authorized by the Assistant Vice President for
Student Affairs or their designee. In this instance, the students will be afforded an interim
suspension meeting and the opportunity to show why their continued presence on
campus does not constitute a threat to themselves, others, or property. The interim
suspension meeting is separate from the student conduct process. The student will
have five (5) business days within which to request an interim-suspension meeting.
An opportunity to meet with Student Conduct for a final resolution will be provided as
soon as possible.


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   •    Procedures: The following steps explain the procedure for imposing an
        interim suspension:
            ‣    Initiating an Interim Suspension: When a situation, as defined
                 above, occurs, the responding university official contacts the Threat
                 Assessment Team or the Assistant Vice President for Student Affairs
                 or their designee to assess the situation and determine if an interim
                 suspension is appropriate.
            ‣    Notification of an Interim Suspension: The student will be sent an interim
                 suspension letter immediately, which states that the student is either
                 suspended from the university and/or suspended from all or selected
                 campus residential facilities until a final resolution is determined through
                 the Student Conduct process.
            ‣    Interim-Suspension Meeting: The student can immediately request an
                 interim suspension meeting to be conducted by the Assistant Vice
                 President for Student Affairs or his/her designee. The interim suspension
                 letter will contain instructions on how to request a review. Those present
                 at the meeting may include the responding university official and other
                 witnesses as deemed appropriate by the Assistant Vice President for
                 Student Affairs. During the review, the student will be given an
                 opportunity to demonstrate why his or her continued presence on campus
                 does not constitute a threat to themselves, others, or property. As part of
                 the review, the student may be required to submit to an immediate
                 medical/psychological evaluation. The student will be evaluated by the
                 director of the Cook Counseling Center or his/her designee.
            ‣    Timeframe to Request Interim-Suspension Review: A student must
                 request a meeting within five (5) business days; after that time frame, the
                 interim suspension and/or suspension from campus residential facilities
                 and all student activities will remain in effect until the matter is resolved
                 through the student conduct process.
            ‣    Decision: The decision made after the interim suspension meeting will be
                 final. There will be no additional appeal.
            ‣    Student Conduct Process/Resolution: Interim suspension information will
                 be shared with Student Conduct and others who need to know. Student
                 Conduct will determine and schedule, as soon as possible, the appropriate
                 resolution process to determine whether the student is responsible for
                 violating university policy and, if so, appropriate sanctions.
No Contact Order: In certain situations, Student Conduct may issue no contact orders to
students for a period of time to prevent communication between two or more students if
it is determined that contact between the parties may perpetuate or escalate behavior that
may interfere with a person’s rightful actions, including but not limited to their safety and
security. No contact orders prevent students from face-to-face, electronic, or third-party
contact. If a no contact order is issued, all parties involved will receive the order.

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A student who violates a no contact order may be subject to conduct action; if a violation
of the order threatens the safety of persons or property, an interim suspension may
be imposed.
The process for no contact orders includes the following:
         1. No contact orders may be requested by students, or Student Conduct may issue
            them independently of a request.
         2. Before issuing an order, Student Conduct may request additional information
            to determine whether it is warranted.
         3. Student Conduct may decline to issue an order.
         4. A student who has requested an order be issued may subsequently request that
            it be lifted.
         5. Student Conduct has the discretion to lift a no contact order at any time if
            it is determined that the circumstances under which it was issued are no
            longer present.
Cease Operations Order: In certain situations involving allegations of policy violations by
student organizations that may involve potential impacts on the safety of persons or
property or significant disruption to the community, Student Conduct may issue a
cease operations order, which places restrictions on the organization while the matter
is resolved. Examples of situations in which cease operations are issued include but are not
limited to the following: hazing; alcohol distributed to underage members or guests;
and disorderly or disruptive behavior, such as serious or ongoing violations of noise
regulations in the Town of Blacksburg. The cease operations will remain in place until
the matter is resolved by Student Conduct. Cease operations restrictions may include
but are not limited to the following:
         1. The organization is to stop operating in full, including meetings,
            communication, events, etc.
         2. The organization is to stop hosting events with alcohol present.
         3. The organization is to stop recruitment or holding meetings, events, or
            activities with new or prospective members.

XI. Student Conduct Records
Violations of the Student Code of Conduct are maintained in a student’s conduct record for a
period of five years from the date of the incident. This record is maintained electronically
by the Office of Student Conduct and is separate from a student’s academic transcript,
though it is considered part of a student’s educational record.
Records of formal Title IX hearings will also be maintained by the Office for Equity and
Accessibility for a period of seven years, as described in the Title IX Reporting and
Grievance Procedures for Sexual Harassment and Violence.




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Student conduct cases involving student organizations are not private. Accordingly,
hearing notification and sanction letters are sent to organizational advisors and
(inter)national headquarters.

Information Sharing within the University
Notification of student conduct outcomes or decisions is given to individuals in the
university with a need to know. Other university agencies or organizations may be
required to obtain a written release from students before they can receive notification.

Notiﬁcation to Victims of Crimes of Violence
                                       lence

Victims of crimes of violence (including abusive conduct and gender-based violence)
involving student respondents will be notified of the outcome and sanction(s). In Title IX
matters, complainants will also be notified of the outcome and relevant sanctions for non-
violent violations of gender-based violence policies.

Parental Notiﬁcation
            fication

Parents/guardians of students under age 21 will be notified if their student is found
responsible for a violation of the alcoholic beverage or illegal drug policies.

Student Conduct Transcript Notations in Cases of Suspension
and Dismissal
When a student is suspended or permanently dismissed from Virginia Tech, a notation
will be included on the student’s academic transcript stating, “suspended [or dismissed] for
a violation of the Student Code of Conduct.” Suspension notations will be removed once
the student completes the term and conditions of the suspension, including all assigned
sanctions. In cases involving allegations of gender-based violence, a notation will also be
placed on the transcript of a student who withdraws from Virginia Tech while under
investigation. This notation will be removed if the student is subsequently found not
responsible for violating policies in the Student Code of Conduct. Students may also petition
to have transcript notations expunged, as outlined in the following section.
Lesser sanctions, such as warnings and probation, do not affect a student's academic
standing and do not appear on the official transcript.

Petitions for Expungement
The university offers two opportunities for students to petition for expungement of
documentation related to their disciplinary record:
       1. In cases involving low-level violations of the Student Code of Conduct, such as
          cases in which a student received probation, the student may petition the
          Office of Student Conduct to have the record of that case expunged prior to
          the end of the five-year period (early record expungement).
       2. In cases involving sanctions of suspension or permanent dismissal resulting in
          a notation on the academic transcript, the student may petition the Office of
          Student Conduct to have the notation on their academic transcript expunged.
          Expungement of the notation is not the same as expungement of the entire
          case record.

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The process and timeline for each opportunity is outlined below.
1. Early Record Expungement for Low-Level Policy Violations: Students or graduates
   may petition Student Conduct to have the documentation of their cases involving low-
   level policy violations, such as those resulting in probation, “expunged” from their
   conduct record prior to the end of the five-year period. “Expungement” in this situation
   means that while the record is maintained by Student Conduct, per state and federal
   law, the record will not be shared with third parties, except as required by law. For
   example, a student applying to transfer to another institution may need to obtain a
   certified copy of their disciplinary record as part of an admissions application; if a
   record has been expunged, the documentation provided for the application will not
   include information about that incident.
  The opportunity to request expungement reflects the student-centered and learning-
  focused values on which the Student Conduct process is based. Namely, we believe that
  students can learn and grow by reflecting on their decisions and examining their values.
  Cases involving more serious violations of policy and more significant sanctions may
  not be considered for early record expungement, including but not limited to the
  following cases: those resulting in suspension or dismissal, gender-based violence and
  gender-based stalking, drug distribution, or other offenses against people.
  An early record expungement applies only to records maintained by the Office of
  Student Conduct; records maintained by other offices or units, such as law enforcement
  and other university departments are not subject to expungement under this process.
  Eligibility: A student may petition to have cases expunged from their conduct record in
  the following circumstances:
   ‣    An undergraduate student is classified as a senior, is not on an active status
        sanction (e.g., probation), and has completed all assigned educational sanctions.
   ‣    An undergraduate student is classified as a freshman, sophomore, or junior, has
        been off of an active sanction (e.g., probation) for at least one full semester (i.e.,
        fall or spring), and has completed all assigned educational sanctions.
   ‣    A graduate or professional student is not on an active status sanction (e.g.,
        probation) and has completed all assigned educational sanctions.
2. Transcript Notation Expungement for Cases Involving Suspension or Dismissal:
   A student or former student may petition for a transcript notation to be expunged–or
   removed–from the academic transcript after a period of three years from the final
   resolution of the case if the student can show good cause. In cases involving
   suspension, the student must have completed the term of the suspension and all
   educational sanctions prior to submitting their petition. The Office of Student Conduct
   will work with former students who have outstanding educational sanctions to
   determine options, which could include alternate sanctions that are mutually agreed
   upon, for fulfilling sanction requirements so that the individual may petition to have
   the transcript notation expunged.
  Expungement of the transcript notation is not the same as expungement of the entire
  case record.
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Submission of Expungement Petitions
To petition for expungement, a student or former student must complete one of the
following forms, which include the opportunity to explain why they are a good candidate
for expungement and what they have learned and/or how they have changed since the
incident for which they were referred to Student Conduct.
Evaluation of Expungement Petitions
The Director of Student Conduct or their designee will review petitions for early record
expungements as well as transcript notation expungements based on the criteria above
and will submit a recommendation to the Assistant Vice President for Student Affairs or
their designee for final approval. The decision will be based upon the following criteria,
as outlined in the petition application available on the Student Conduct website:
         1. The nature of the violation(s) and the resulting impacts
         2. The student’s behavior after the violation(s) and their present demeanor
         3. The student’s demonstrated level of reflection and growth
After a petition is evaluated, the student will receive written notification of the decision.
That decision will be final.
It is important to note that a student with an expunged record or transcript notation may
still need to disclose information about their disciplinary history to third parties, including
potential employers, other universities’ admissions offices, a professional board, etc.

XII. Appendices
Appendix I: Additional Policies and Procedures Governing the Use of
Alcoholic Beverages
Virginia Tech recognizes that the misuse and abuse of alcohol is a persistent social and
health problem in our society and that it interferes with the goals and objectives of any
educational institution. The university fully complies with the alcohol regulations of the
Commonwealth of Virginia, and all state laws apply to Virginia Tech students and student
organizations. Students or student organizations who violate the Alcoholic Beverage
Policy in the Student Code of Conduct and any associated policies or guidelines will face
disciplinary action. Sanctions will likely include substance-related education.
In compliance with the laws of the Commonwealth, and to maintain conditions conducive
to learning, possession or consumption of alcoholic beverages on campus is only
permitted according to the following provisions:

LOCATION                   DESCRIPTION
                           In the privacy of a student room, alcoholic beverages are
Residence hall             permitted for those persons 21 years of age or older in accordance
room                       with state law, provided that at least one of the 21-year-old
                           residents of the room is present.




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                                Aside from the privacy of a student’s room, possession or
Other locations
                                consumption of alcoholic beverages in any area of residence halls,
in residence halls
                                including suite living rooms, is forbidden.
                                The Director of Fraternity and Sorority Life, in conjunction with
                                the Director of Housing and Residence Life, determines
Oak Lane                        regulations concerning the use of alcoholic beverages in the “Oak
                                Lane Community” (also known as Special Purpose Housing)
                                during events.
                                The Commandant of Cadets establishes and publishes regulations
                                to be observed by cadets regarding the possession and
Corps of Cadets
                                consumption of alcoholic beverages. This information is
                                published in the Cadet Regulations Manual.
All residential                 Kegs of any description in student rooms or residence halls,
locations                       including Oak Lane, are prohibited.
                                The possession and use of alcoholic beverages is prohibited on
All other
                                all other university property except in certain facilities that are
university
property                        fully registered with the Virginia Alcoholic Beverage Control
                                Board (ABC).

Alcoholic beverages are further governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 1015.
For more information related to federal and state laws and regulations regarding alcohol
or illegal drugs or prevention and substance-use programs available at Virginia Tech,
please consult the website for Hokie Wellness, as well as the university’s Drug and Alcohol
Prevention Program document.

Appendix II: Additional Information about Policies and Laws Governing
the Use of Marijuana/Cannabis
Effective July 1, 2021, marijuana is legal in the Commonwealth of Virginia for both
recreational and medical use. As an academic community committed to well-being,
Virginia Tech recognizes that using marijuana may negatively impact students’ academic
performance, relationships, mental health, and career goals. Therefore, it is important
for students to understand the policies and laws that govern marijuana possession and use,
as well as the support resources that are available to address negative effects and
potential misuse.
Federal and State Laws and University Policy
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1. Using or possessing marijuana or marijuana paraphernalia in any form is prohibited on
   all university properties and at university-sponsored off-campus activities. This
   prohibition includes, but is not limited to, smoking, edibles, and vaporizers.




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  Although recreational and medical uses of marijuana are both legal in the
  Commonwealth of Virginia as of July 1, 2021, federal law continues to prohibit it. As
  an institution that receives federal funds, including federal financial aid, Virginia Tech
  is required to comply with all federal laws and regulations, including the Drug Free
  Schools and Communities Act, which requires institutions to have policies prohibiting
  possession, use, or cultivation of marijuana on university property or at university-
  sponsored off-campus events. Therefore, Virginia Tech will enforce prohibitions of
  marijuana on university property and at university-sponsored events off campus, and
  students who violate this policy will be subject to action under the Student Code of
  Conduct. Sanctions will likely include substance-related education.
2. Students at off-campus locations/properties and off-campus events that are not
   sponsored by the university are expected to abide by Virginia laws related to marijuana
   use, possession, or growth. These include, among others, the list below. This list serves
   only as an overview; students should refer to the Code of Virginia for the most updated
   and accurate description of the law.
    • Legal age: Legal possession, use, or cultivation is limited to adults 21 or older.
    • Quantity: Individuals may not possess more than one ounce (28 grams) or the
        equivalent amount of another marijuana product.
    • Home growth: Individuals may cultivate up to four marijuana plants; these plants
        must be marked and may not be visible from a public street or accessible to
        children.
    • Locations: Use of marijuana is not permitted in public spaces or on public school
        grounds.
    • Selling: Sales of marijuana are prohibited; however, an adult over 21 may “gift” up
        to 1 ounce to another adult over 21.
    • Driving: Using marijuana in any form is prohibited while driving or riding in a
        motor vehicle, as is having an “open container” of marijuana in the passenger area
        of the vehicle.
For information about education and support resources regarding marijuana, alcohol, and
other drugs, please consult the website for Hokie Wellness, as well as the university’s Drug
and Alcohol Prevention Program document.

                                         nal Title
Appendix III: Title IX Deﬁnitions and Formal Title IX
                                                   IX Adjudication
                                                      Adjudication
Process
Title IX Sexual Harassment means any of the following conduct on the basis of sex:
    • A university employee conditioning an educational benefit or service upon a
        person’s participation in unwelcome sexual conduct (i.e. quid pro quo
        harassment);
    • Unwelcome conduct that a reasonable person would determine to be so severe,
        pervasive, and objectively offensive that it would effectively deny a person equal
        access to a university program or activity; or
    • Sexual Assault, Dating Violence, Domestic Violence, or Stalking, as each of those
        terms are defined below.


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The process for formal Title IX complaints, including definitions of terms and policies,
reporting, investigations, and adjudication, is outlined fully in the university’s Title IX
Reporting and Grievance Procedures for Sexual Harassment and Violence, under the
university policy 1026 on Title IX Sexual Harassment and Responsible Employee
Reporting. The following excerpts include the policy definitions under Title IX, as well as
the formal Title IX adjudication process for students, which is conducted by the Office of
Student Conduct.
Title IX Definitions
Complainant means an individual who is alleged to be the victim of conduct that could
constitute Title IX Sexual Harassment.
Consent means knowing, voluntary, and clear permission by word or action, to engage in
mutually agreed upon sexual activity. The existence of consent is based on the totality of
circumstances, including the context in which the alleged consent occurred. Silence does
not necessarily constitute consent and coercion, force, or threat of either party invalidates
consent.
   •    Consent cannot be given where a person is incapacitated due to drugs or alcohol;
        or where a person has a disability; or is not of legal age to consent as defined by
        law.
   •    Consent to any one form of sexual activity cannot automatically imply consent to
        any other forms of sexual activity. Consent can be withdrawn at any time.
   •    Previous relationships or prior consent cannot imply consent to future sexual acts.
Dating Violence means violence committed by a person: (a) who is or has been in a social
relationship of a romantic or intimate nature with the victim; and (b) where the existence
of such a relationship shall be determined based on a consideration of the following
factors: (1) the length of the relationship; (2) the type of relationship; and (3) the
frequency of interaction between the persons involved in the relationship.
Domestic Violence means felony or misdemeanor crimes of violence committed by: (a) a
current or former spouse or intimate partner of the victim; (b) a person with whom the
victim shares a child in common; (c) a person who is cohabitating with or has cohabitated
with the victim as a spouse or intimate partner; (d) a person similarly situated to a spouse
of the victim under the domestic or family violence laws of Virginia; or any other person
against an adult or youth victim who is protected from that person’s acts under the
domestic or family violence laws of Virginia.
Respondent means an individual who has been reported to be the perpetrator of conduct
that could constitute Title IX Sexual Harassment.
Sexual Assault means misconduct that meets the definition of Rape, Fondling, Incest, or
Statutory Rape, as defined below:
   •    Rape means penetration, no matter how slight, of the vagina or anus of a person
        with any body part or object, or oral penetration by a sex organ of another person,
        without the consent of the victim.



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   •     Fondling means the touching of the private body parts of another person for the
         purpose of sexual gratification, without the consent of the victim, including
         instances where the victim is incapable of giving consent because of age or
         temporary or mental incapacity.
   •     Incest means sexual intercourse between persons who are related to each other
         within degrees wherein marriage is prohibited by law.
   •     Statutory Rape means sexual intercourse with a person who is under the statutory
         age of consent.
Stalking means engaging in a course of conduct directed at a specific person that would
cause a reasonable person to: (a) fear for the person’s individual safety or the safety of
others; or (b) suffer substantial emotional distress.
Formal Title IX Adjudication Process
When the Title IX Coordinator refers a case for formal adjudication, the Office of Student
Conduct will hold a live hearing with cross examination to determine whether the
respondent is responsible for the alleged conduct and to provide sanctions, as appropriate.
   A. Procedural Guarantees
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   In formal conduct hearings for Title IX formal complaints, the complainant and
   respondent are entitled to the following procedural guarantees and opportunities:
   •     To receive a copy of the final investigation report, including any attachments and
         supporting documents from the Title IX Coordinator or designee at least ten (10)
         days in advance of the hearing.
   •     To receive written notice of the date, time, location, participants, and policies
         charged at least five (5) business days in advance of the hearing to allow the parties
         sufficient time to prepare for the hearing.
   •     To be accompanied by an advisor of their choice, at their own cost, or to have an
         advisor provided to them by the Office of Student Conduct without fee or charge.
   •     To inspect and review, during the hearing, all evidence obtained during the
         investigation that is directly related to the allegations in the formal complaint.
   •     To present that evidence that supports or refutes the alleged conduct*
   •     To present witnesses, including fact and expert witnesses.
   •     To have their advisor conduct live cross-examination on the other party and any
         witnesses.
   •     To remain silent or to participate as they see fit, including full, partial, or no
         participation.
   •     To challenge the objectivity of a hearing officer(s), given reasonable cause to
         believe they may be biased or have a conflict of interest.
   •     To appeal, regardless of the outcome, based on the following grounds: (1)
         Procedural irregularity; (2) Significant and relevant new information that was not
         available at the time of the hearing; (3) The Title IX Coordinator, Investigator, or
         hearing officer(s) had a conflict of interest or bias, which affected the outcome; (4)
         Unduly harsh or arbitrary findings or sanctions.


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  *Only evidence and information submitted prior to the final investigation report will
  be considered during at the hearing.
  B. Advisors
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  At the hearing, each party may be accompanied by an advisor of their choice, at their
  own cost (e.g., parent, friend, attorney, etc.); if a party does not have an advisor, the
  university will provide one to them without fee or charge for the purposes of cross-
  examination. Advisors may not also serve as witnesses.
  Advisors will be permitted to cross-examine (i.e., ask relevant questions and follow-up
  questions) the other party and any witnesses directly, orally, and in real time. The
  parties must use their advisors in this capacity, as they will not be permitted to ask
  questions personally.
  Aside from cross-examination, advisors may not speak on the student’s behalf or
  participate actively in the process. Advisors must follow the guidance of the hearing
  officers.
  C. Cross-Examination
  During the hearing, the parties’ advisors will be permitted to ask relevant questions
  and follow-up questions, including those challenging credibility, of the other party
  and any witnesses. Cross-examination must be conducted directly, orally, and in real
  time. At no times will the parties directly conduct cross-examination.
  Relevance
  Questions asked during cross-examination must be relevant to the behavior and
  situation in question. Hearing officers will determine whether each question is
  relevant and, if they choose to exclude a question, explain why it is not relevant. The
  following topics/questions have been identified as automatic exclusions:
  Questions or information about the complainant’s prior sexual behavior, unless they
  are used to prove someone other than the respondent committed the alleged conduct
  or if they concern previous sexual activity with the respondent and are used to prove
  consent.
  Questions or information that disclose or seeks to disclose privileged information,
  such as medical or psychological records.
  For more information about relevant information, please refer to the Relevant
  Evidence section in the Title IX Reporting and Grievance Procedures for Sexual
  Harassment and Violence.
  Declining to Participate in Cross-Examination
  If a party or witness declines to be cross-examined during the hearing or is otherwise
  not available for cross-examination, the hearing officers may still consider any
  statements made by that party or witness during the investigation or hearing when
  determining whether the respondent is responsible for the alleged conduct.




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   The hearing officers will also not draw conclusions regarding responsibility based
   solely on a party’s or witness’s absence from the hearing or decision to decline to
   answer questions from the hearing officers or during cross- examination.
   D. Recording
   The Office of Student Conduct audio records all formal hearings. A copy of the
   recording is maintained as part of the case file and will be made available to the
   parties, upon request.
   E. Hearing Location and Virtual Participation
   At the discretion of the Office of Student Conduct, a hearing may be conducted in a
   single physical location, with all parties present, or a hearing may be conducted
   virtually, with participants appearing via videoconference. If the hearing is held in
   person (i.e., in a single physical location), either party may request to be located in a
   separate room and to participate via video conference. Regardless of the participation
   method, the hearing participants will be able to simultaneously see and hear each
   other.
   F. Determination of Responsibility
   After the hearing, a determination of whether a respondent is responsible for
   violating any policy in the Student Code of Conduct will be made by the hearing officers
   based on the information presented in the investigation report and at the hearing.
   Standard of Proof
   The university uses preponderance of the evidence to determine whether or not the
   respondent is responsible for the alleged conduct. This determination is made based
   on the information available to determine if it is more likely than not that a violation
   occurred.
   Decision Letter
   The hearing officer will simultaneously provide the parties the decision in writing.
   The decision letter will include the following information: allegations and policies
   charged, procedural steps taken during the grievance procedure, information used to
   determine the findings and their application to the policies charged, rationales for
   each finding, any sanctions imposed on the respondent, any remedies provided to the
   complainant, and information about the appeal process.
Range of Possible Sanctions
If a respondent is found responsible for the alleged conduct, the hearing officers will make
a determination regarding appropriate sanctions. One or more of the following sanctions
may be imposed:
   •    Formal warning
   •    Probation
   •    Deferred Suspension
   •    Suspension
   •    Deferred Dismissal (i.e., deferred expulsion)
   •    Dismissal (i.e., expulsion)
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    •   Denial of privileges or associations
    •   Educational, Community, and Wellness Activities
When assigning sanctions, hearing officers consider the type and nature of any policy
violation(s), including mitigating or aggravating factors, as well as the student’s prior
conduct record. Sanctions are generally cumulative in nature.
For definitions and additional information about sanctions in the Student Conduct
process, please refer to the relevant sections in this document.
Remedial Action
Following a hearing, the Director of Student Conduct shall work with the Title IX
Coordinator, who will oversee any necessary remedial action to restore or preserve the
complainant’s equal access to the university’s education programs or activities.
Appeal Process
Both parties have the opportunity to appeal the outcome of a formal hearing in a Title IX
case regardless of the outcome. Sanctions take effect immediately, pending the appellate
officer’s decision or the end of the appeal period.
    A. Grounds for Appeal
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    Appeals are not re-hearings; therefore, appeal requests are limited to the following
    grounds:
        •   Procedural irregularity or denial of procedural guarantees
        •   Significant and relevant new information that was not available at the time of
            the hearing
        •   Conflict of interest or bias by the Title IX Coordinator, Investigator, or
            hearing officer(s), which affected the outcome
        •   Unduly harsh or arbitrary findings or sanctions.
    Appeals submitted that do not have sufficient grounds in one of these areas will be
    denied.
    B. Potential Outcomes of an Appeal
    The appellate officer will review the appeal and may:
        •   Uphold the original decision and sanctions
        •   Uphold the original decision and either decrease or increase the sanction
        •   Vacate a finding
        •   Send the case back to the Title IX Coordinator for further investigation
        •   Send the case back to Student Conduct for a new partial or full hearing
    C. Time Frame to Submit an Appeal
    The parties have seven (7) business days from the date of the decision to submit the
    appeal. The date the decision is given is considered the first day of the appeal period.
    Appeals submitted after the deadline will not be accepted except in extenuating
    circumstances, as determined by Student Conduct.


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    D. Format of Appeal
    The appeal is a written request submitted by the student for a review of the original
    case. The student should include which grounds for appeal they believe apply, and any
    information the student wants considered should be included in the written
    document. The burden is on the appealing party to demonstrate why the finding or
    sanction should be altered.
    E. Notification to the Other Party
    When one party submits an appeal, the Office of Student Conduct will notify the
    other party and provide them with an opportunity to review the appeal and submit a
    written statement in response, which will be included in the appeal documentation.
    F. Appellate Officers
    An appellate officer will be designated by the Assistant Vice President for Student
    Affairs, who serves as the university’s Chief Appellate Officer. All appellate officers are
    external to the Office of Student Conduct and Title IX. When they are designated to
    review a case, the Assistant Vice President will ensure they do not have conflicts of
    interest or bias and are, therefore, able to review the case objectively.
    G. Appeal Decision Letter
    The appellate officer will issue a decision on the appeal in writing to both parties
    simultaneously. This notification will include a rationale for the decision.

Appendix IV: Additional Information Regarding the Hazing Policy
Hazing is a criminal offense in the Commonwealth of Virginia, as defined in § 18.2-56 in
the Code of Virginia, and is prohibited at Virginia Tech in all forms. This policy is based
on the proposition that students are entitled to be treated with consideration and respect
at all times. It applies to all student organizations and individuals.
The Student Code of Conduct defines hazing as follows:
        Any mental or physical requirement, request, or obligation placed upon any person that
        could cause discomfort, pain, fright, disgrace, or injury; that is personally degrading; or
        that violates any federal, state, or local statute or university policy, the willingness of an
        individual to participate in such activity notwithstanding.
Hazing shall include, but not be limited to, forcing, compelling, requiring, encouraging, or
expecting, whether direct or implied, any individual to participate in any of the following
actions or activities. Hazing also includes soliciting, directing, aiding, or otherwise
participating actively or passively in these acts:
    •    Physical Acts
             ‣    Encouraging or requiring persons to consume alcohol or other substances
                  regardless of the age of the participant.
             ‣    Encouraging or requiring that a person do or submit to any act that will
                  alter his or her physical appearance in any significant degree for any
                  substantial period of time (e.g. burning, branding, tattooing, using
                  makeup, paint or markers on a person, or shaving the head or body).
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           ‣    Encouraging or requiring activities that disrupt a person’s normal
                schedule. A normal schedule includes three reasonably spaced meals per
                day, the opportunity for sufficient rest at night (at least six full hours) and
                reasonable time for personal hygiene.
           ‣    Encouraging or requiring a person to engage in physical activity of
                unusual kind or duration, such as: calisthenics, overly difficult work
                assignments, activities that may be excessive for a person, activities that
                require a person to remain in a fixed position for an extended period of
                time, binding or restricting an individual in any way that would prohibit
                them from moving on their own, confining a person or exposing
                participants to uncomfortable elements like in environments that are too
                hot, cold, noisy, small, or threatening/intimidating.
           ‣    Hinting, pretending, or misleading a prospective member into believing
                that they will be hit, hurt, or physically altered.
           ‣    Encouraging or requiring acts that are or seem to be dangerous.
  •    Psychological Acts
           ‣    Encouraging or requiring a person to pretend to or actually violate a law.
           ‣    Encouraging or requiring an individual to obtain or possess items or
                complete tasks in an unlawful manner (i.e. for a scavenger hunt).
           ‣    Verbally abusing prospective members. Examples include but are not
                limited to yelling or screaming; calling individuals demeaning names;
                booing, hissing, or demeaning individuals when they make mistakes.
           ‣    Encouraging or requiring a person to perform acts of servitude, perform
                personal errands for others, or engage in activities that are demeaning.
           ‣    Misleading prospective members in an effort to convince them that they
                will not become members unless they complete tasks, follow instructions,
                or act in a certain way.
           ‣    Misleading prospective members into believing that they will be hurt
                during induction or initiation.
           ‣    Encouraging or requiring a person to publicly carry objects or wear
                apparel that is abnormal, not normally in good taste, conspicuous
                and/or indecent.
           ‣    Encouraging or requiring a person to appear nude or reveal body parts.
           ‣    Encouraging or requiring an individual or group to remain in a certain
                place or transporting them to a location without their knowledge (e.g.
                taking a person on a road trip or excursion to an unknown destination or
                kidnapping).
           ‣    Parading individuals in public areas, transporting individuals in a motor
                vehicle while blindfolded, or privately conducting blindfolding activities
                that serve no constructive purpose.

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                ‣      Requiring an individual to “pledge” or “associate” for a period of unusual
                       length (more than 10-12 weeks) for reasons other than achieving academic
                       requirements or extraordinary circumstances.
As it is impossible to anticipate every situation that could involve hazing, this list does
not, and cannot, encompass every circumstance that will cause the institution to discipline
for hazing. This policy is not intended to prohibit the following conduct:
     •    Customary athletic events, contests, or competitions that are sponsored by the
          institution or the organized and supervised practices associated with such events.
     •    Any activity or conduct that furthers the goals of a legitimate educational
          curriculum, extracurricular program or military training program, as approved by
          the institution.
Note: An individual may not consent to being hazed, and their voluntary
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or willful participation in hazing activities will not be considered as a
defense against a violation of the institution’s hazing policy by an individual
or organization.
University Reporting, Investigation, and Adjudication: The university encourages
individuals to report any potential hazing activities. The initial report of a suspected
violation may be reported in person, by phone or by electronic communication, and may
be done anonymously.
Alleged violations of this policy can be reported through an online reporting system or to
the following offices:
     •    Student Conduct
     •    Student Engagement and Campus Life
     •    Fraternity and Sorority Life (for Greek organizations)
     •    Recreational Sports (for club sports)
     •    Virginia Tech Police Department
     •    Virginia Tech Corps of Cadets
Credible and sufficiently detailed reports of hazing will be referred to Student Conduct for
further investigation and potential adjudication. Both individuals and organizations may
be held responsible for their actions and participation in incidents of hazing. If an
investigation concludes that an individual or individuals directed, engaged in, aided
or otherwise participated in, actively or passively, an incident of hazing, disciplinary
action may be imposed against the individual(s). If the investigation concludes that an
organization knowingly permitted, authorized, or condoned hazing, disciplinary action
may be imposed against the entire organization.
Reporting to the Commonwealth’s Attorney: Per § 18.2-56 in the Code of Virginia, the
university must report incidents of hazing that cause bodily injury to the
Commonwealth’s Attorney, who may take separate action.




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